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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                               )
UNITED STATES OF AMERICA                       )
                                               )
        v.                                     )         Case No. 1:24-cr-00260-APM
                                               )
BRANDON HEFFNER                                )
                                               )
                       Defendant               )


                     DEFENDANT’S MOTION TO STAY
        THE PROCEEDINGS PENDING THE APPOINTMENT OF THE TRUMP
               ADMINISTRATION’S UNITED STATES ATTORNEY

       AND NOW comes Defendant, Brandon Hefner, by and through his counsel, Andres

Jalon, who seeks to STAY the above criminal proceedings.

                                      Procedural History

       Defendant was charged by way of Indictment on or about May 29, 2024. Defendant has

allegedly violated, inter alia, 18 U.S.C. Section 1752(a)(2) and 18 U.S.C. 5104(e)(2)(D) for

disorderly and disruptive conduct in a restrictive building or grounds and disorderly conduct in a

capitol building.

                                        Factual History

       On or about November 28, 2023, a Special Agent with the Federal Bureau of

Investigation submitted a criminal complaint and arrest warrant for Defendant. The instant case

arises out of events that occurred on January 6, 2021.

       On November 6, 2024, former president and now President Elect Donald Trump won the

election and defeated Vice-President Kamala Harris. In the Washington Post, earlier today,

President Elect Trump has vowed in several public and new statements to not prosecute non-
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violent J6 defendants and to grant pardons to convicted J6 defendants. The granting of pardons

of convicted J6 defendants placed into question the current J6 prosecutions. See also, Trumps

comments made on January 31, 2024, presented to CNN. The list is exhaustive as to a clear

policy of pardon and withdrawal for some J6 defendants on a case-by-case basis.

                                                 ARGUMENT

       In United States vs. Spencer, the Court laid out the necessary standard applicable to a

District Court’s consideration of delaying proceedings:


       …"the power to stay proceedings is incidental to the power inherent in every court to control
       the disposition of the causes on its docket with economy of time and effort for itself, for
       counsel, and for litigants. How this can best be done calls for the exercise of judgment, which
       must weigh competing interests and maintain an even balance.'" Air Line Pilots Ass'n v. Miller,
       523 U.S. 866, 880, 118 S. Ct. 1761, 140 L. Ed. 2d 1070 (1998) (quoting Landis v. North American
       Co., 299 U.S. 248, 254-55, 57 S. Ct. 163, 81 L. Ed. 153 (1936)); see also Clinton v. Jones, 520 U.S.
       681, 706, 117 S. Ct. 1636, 137 L. Ed. 2d 945 (1997). Moreover, a party requesting a stay of
       proceedings "must make out a clear case of hardship or inequity in being required to go
       forward, if there is even a fair possibility that the stay for which he prays will work damage to
       some one else." Landis, 299 U.S. at 255.

       Other courts in this district have looked to four factors to guide consideration of whether to
       grant a stay in this situation--i.e., pending the Supreme Court's resolution of Fischer. See, e.g.,
       Mem. Op., United States v. Carnell, No. 23-cr-139 (D.D.C. Jan. 4, 2024) (BAH), ECF No. 75 at 2.
       Those are: "(1) whether the stay applicant has made a strong showing that he is likely to
       succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)
       whether issuance of the stay will substantially injure the other parties interested in the
       proceeding; and (4) where the public interest lies." Id. at 2-3 (citing Nken v. Holder, 556 U.S.
       418, 433-34, 129 S. Ct. 1749, 173 L. Ed. 2d 550, (2009)). "When the defendant is the
       government, factors (3) and (4) merge." Zukerman v. U.S. Postal Serv., 64 F.4th 1354, 1364, 460
       U.S. App. D.C. 378 (D.C. Cir. 2023) (citing Nken, 556 U.S. at 435).

       If Brandon Heffner is not granted a stay by this Honorable Court he must proceed to trial

and he may suffer the harm of a conviction.

       That same conviction will likely be overturned by pardon, consistent with the Trump

Administration’s policy and the public interest clearly lies with not prosecuting individuals who

the new administration has no intention of prosecuting or punishing. Moreover, judicial
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economy is best served to allow the defendant to petition for a withdrawal of prosecution

rather than be convicted and then seek a pardon. Defendant, Brandon Heffner is a non-violent

defendant charged with J6 criminal activity and falls squarely with the incomings administration

of the type of case that will be withdrawn. It should be noted the incoming administration is

reviewing on a case-by-case basis focusing on non-violent J6 defendants.

       The connection between Defendant and the violence that occurred on January 6, 2021, is

tenuous at best and Brandon Heffner believes that the new administration, upon review of his

case and application for a withdrawal of prosecution is likely to be granted.

       WHEREFORE, for all the foregoing reasons, defendant Brandon Heffner requests this

honorable district court grant his stay until he can have his case reviewed by the USDOJ and

determined whether prosecution will be withdrawn.

                                                     Respectfully submitted,

Date: 11/7/2024                                      /s/ Andres Jalon, Esq.__
                                                     Andres Jalon, Esq.
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                                CERTIFICATE OF SERVICE

       I certify that on the date indicated below, I caused a true and correct copy of Brandon

Heffner’s Motion to Stay and Incorporated Memorandum of Law to be filed electronically via

the ECF system. The same are available for downloading. The same were additionally served via

electronic mail upon the following:

                      Cytheria Jernigan, Assistant U.S. Attorney
                      Kathryn Bolas, Assistant U.S. Attorney
                      U.S. Attorney’s Office for the District of Columbia
                      555 Fourth Street, NW
                      Washington, DC 20530


                                      /s/ Andres Jalon, Esquire

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